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EXHIBIT 7
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             Washington, D.C. 202305

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             General Services Administration


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             Species Act of                    td -1973
                                                  sales of spermhale oil by £he
             our opiirio           that the pplic;Endangbiered Speies A                                           appig         t
             the sales in question. and prbhibitsthem.                                                                 .
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                          DEC 19 1974
                          MEMORANDUM
    Re:   Application of the Endangered Species Act. of
          1973 to the Sale of Sperm Whale Qil-by-the -
          Ge'e'r'a' Servikces' Administrationh

    We have been asked by the Departmeit of Commerce and
the General Services Administration what' effect
the Endangered Species Act of 1973, 16 U.S:C. § 1531 et
seq., has on two contracts made by GSA for the sale oV-
sperm whale oil.
    By contracts dated December 27, 1973, the day before
the Endangered Species Act became 'effective, and January 31,
1974, the General Services Administration (GSA) sold two
lots of sperm whale oil to two private companies; This
oil was originally held by the government in the strategic
materials stockpile in accordance with the authority
provided by the Strategic and Critical Materials Stock
Piling Act, 50 U.S.C. § 98-98h. In 1972 sperm whale oil
was removed from the list of strategic and critical materials
and GSA was asked to dispose of the material. Pursuant to
50 U.S.C. § 98b(e) notice of the proposed disposal was
published in the Federal Register (38 Fed. Reg. 1157 (Jan.
9, 1973)) and given to. Congress. Negotiations regarding
the sale of the whale oil took place commencing in the fall
of 1972 and culminated in the contracts of December 27,
1973 and January 31, 1974. 1/ Commerce asserts that the sales
are prohibited; GSA asserts the contrary.
    The Endangered Species Act of 1973, which became effec-
tive on December 28,    1973,   makes it   unlawful for any -"person"
to "sell or offer for sale in interstate or foreign commerce"
an endangered species (16 U.S.C. § 1538(a)(1)(F)), or to
"deliver; receive, carry, transport, or ship in interstate,

I/ All details as to the history of the acquisition and
sale of the sperm whale oil are taken from a memorandum
entitled "Stockpiling of Strategic and Critical Materials,"
prepared by GSA and attached as exhibit III to the letter
of September 27, 1974 from the General Counsel of the
Department of Commerce to the Assistant Attorney General,
Office of Legal Counsel, Department of Justice.

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or foreign commerce, by any means whatsoever'and in the
course of commercial activity" an endangered species (16
U.S.C.      §-1538(a)(.1)(E)).   This prohibition extends to
parts or products of *"fish or wildlife" (whether dead or
alive)" that are designated as "endangered species".    16
U.S.C. § 1532(5),   The 'Act was specifically made 'applicable
to the Federal Government, since "person" is defined -to
include "any officer,        employee,    agent,   department,   or.
instrumentality of the Federal Governmeht'.                 "
16 U.S.C. § 1532(8).

     It     is   clear that the foregoing provisions of the
Endangered Species Act would prohibit GSA's sale of the
whale oil and GSA"s and the buyer's transportation of the
whale oil unless some exemption in the Act applies.' 2/ The
only exemption that is even arguably.applicable is con-
tained in 16 U.S.C. § 1538(b), which provides in pertinent
part:

          "The provisions of this section [which include the
     prohibitions set out above] shall not apply to any
     fish or wildlife held in captivity or in a controlled
     environment on December 28, 1973, if the purposes of
     such holding are not contrary to the purposes of this
     chapter; except that this subsection shall not apply
     in the case of any fish or wildlife held in the course
     of a commercial activity."   (Emphasis added.)

"Commercial activity" is         defined as--

         "all activities of industry and trade, including,
     but not limited to, the buying and selling of commo-
     dities and activities conducted for the purpose of
     facilitating such, buying and selling."  16 U.S.C.
         § 1532(1).
    GSA contends that the holding of the sperm whale oil
was not "in the course of a commercial activity" and that
the prohibitions of the Act therefore do not apply.  While

2/ Note that the sale of some of the oil prior to the effective
date of the Act does not affect the coverage of the Act, for
it applies to the transport of the product as well as its
sale., Although the first sale might not come within the
prohibitions of the Act, the subsequent shipment of the oil
would.




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     this might have 'ben true when the 'o1l was on the 'list           op
     strategic and critical        materials 'stockpiled by the Govern-
     ment, at least      once the notice of proposed disposal was
     published  the    oil   was -being held only for sale.       "Selling
     of commodities        is-'expressly      included within the meaning  of
                                t under the Adt; and holding the'.oil
     "commercial    activity
     in the course of selling it was therefore'a holding "in              the
     course of a commeicial        acitivity."-

          The :cases cited by GSA to support its    proposition that the
     Government is not engaged in "normal      trade"  wher it disposes
     of surplus propefty are 'inapposite    "to the question   'of whether
     the activity     is commercial.  All the 'cited  cases  stand    for .
     is the proposition that in order to protect       the  public
     treasury and the public good, the Government can impose.
     more restrictive     contractual conditions than can a private
     entity, and the conditions imposed will be strictly         inter-
     preted in favor of the Government: 'See Kirkland Distributing
     Co. v. United States, 276 F.2d 138 (4th Cir. 1960); -United
     States v. Weisbrbd, 202 F.2d 629 (7th Cir.), cert. denied,
      346 U.S. 819 (1953);' Krupp v. Federal Housi ngAdinistration,
      185 F. Supp. 638 (D. Mass. 1960), rev'd, 285 F.2d 833 (1st
      Cir. 19'61) 3/,    Boy v. United States, 179 F. Supp. 67
      (M.D.N.C. 1959).

            The conclusion which one draws from the clear and ex-
     plicit    terminology of the statute    might be modified if it
     appears to be contrary to the legislative       history or the
     purpose of the legislation.       In this  case there is nothing
     to indicate that it     is--and to the contrary, inclusion of
     this transaction seems necessary both in order to give
     effect to the apparent intent of those who introduced the
     limited exemption and. in order to meet the concerns of those
     who sought to narrow it by the limiting clause in its        con-
     clusion.

         The exemption was introduced on the floor of the Senate
     by Senator Tunney and his introductory remarks make it clear
     that the-intended purpose was to protect from prosecution
     private persons who might, for non-commercial purposes, have
     a pet of an endangered species, or a fur coat.


     3/  The District  Court case cited by GSA was reversed on
     appeal.   The Circuit Court stated that the Government was
     to be'treated the, same as any other litigant, 285 F.2d at 836.



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                           '"This -amendment would exempt. from Government inter-
                       ference endangered species now lawfully held in cap-
                       tivity or in a4controlled environment which might come
                       under the provisions of this bill. These animals in-
                       clude pets, species held for obligation purposes for
                       which permits might otherwise hae .'to be secured under
                       the bill, and species held in similar circumstances. The
                       Government has made several atteipts in the recent past
                       to prosecute'certain individuals attempting to enhance
                       the condition of endangered species for seemingly
                       technical violations bf the law." 119 Cong. Rec. S.
                       14530 (daily ed. July 24, 1973) (remarks of Senator
                       Tunney).
                    Senator Tunney then inserted in the Record, by way of
                    illustration, a series of newspaper stories about the diffi-
                    culties encountered by a falconer who was attempting to save
                    the spedies by breeding them in captivity.
                        The conference committee, although continuing in the same
                    vein, narrowed the coverage of the exemption:
                           "The Senate bill restricted the prohibitions of the
                       Act so as not to apply them to species .held in captivity
                       or in a controlled environment as of the date of enact-
                       ment; the House bill was silent on the subject and hence
                       included such animals. As drafted, the Senate language
                       may have made it very difficult, and perhaps even
                       impossible, to enforce the action [Act?). The real
                       problems envisioned by the Senate had to do with live
                       animals in captivity, such as zoos and privately-owned
                       animal products, and the conferees agreed that these
                       animals are rarely transferred for commercial purposes.

                               The conferees rewrote the provision to create an
                        affirmative defense with respect to noncommercial
                        activities,    permitting a qualified person to-plead-
                        in defense to a charge of violation of the Act that the
                        goods or animals themselves were in their hands or under
                        control on the effective date of the Act. Only persons
                        holding such goods and animals for oth'er than commercial
                        purposes would be enabled to plead this subsection as
                        a defense, such as noncommercial zoos', private collectors
                        of animals and the owners' o -fur coats and rugs. The
                        section would not apply in the case of later born progeny
                        of animals alive at the time of enactment." H.R. Rep.



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    No,         93-.740,   93d Cong,    1st Sess.,   27. (1973)        (emphasis
    added)          [hereinafter;      Conference Report],
    The 'references to "privately own'ed animal products" and
"noncommercial activitiest' clearly do not embrace -the
Government"ss sale 'of surplus material.  The Government clearly
does not fit within the delineated category of those for
whom the exemption was meant -- "noncommercial zoos., private
collectors of animals and the owners of fur coats and rugs."
     The examples selected in this legislative history to
exemplify -"nonc6mmercial activities" are not remotely com-
parable to the Government's sale of a surplus commodity, nor
is there any other indication in .the legislative history
that Congress meant to exempt such sales. Their exemption
would, moreover, clearly frustrate one of the purposes
sought to be achieved by the exeiption as written.   Signifi-
cant in the Conference Report is the reference to the diffi-"
culty or impossibility of enforcement of the Senate version
of the bill. The conference committee added to the Senate
version the language limiting the exception to non-commercial
activity (see Conference Report at 27, set out above), which
it narrowly limited by defining commercial activity broadly
 (see 16 U.S.C. § 1532(1), and Conference Report at 24).
The enforcement problem alluded to in the Conference Report
would appear to be that caused by having so many endangered
species and their products in legitimate circulation that
detecting and proving the existence of contraband, products
would be nearly impossible.   Clearly, the sale by the Govern-
ment of 23 million pounds of sperm whalel oil would cause
just such a problem.
     Finally, it is asserted by GSA that the prohibition of
sale of the oil in the hands of a holder of the oil at the
time the Act was passed constitutes a taking of the oil with-
out just compensation raising serious constitutional ques-
tions. 4/ The answer to this contention is that if a party
believes that there is a "taking", it may seek damages in the

   T.In not one of the cases -cited by. GSA (North American Co.
v. Securities & Exchange Commission, 327 U.S. 686 (1946);
Taylor v. United States, 320 F.2d 843 (9th Cir. 1963), cert.
denied, 376 U.S, 914 (1964); Sagastivelza v. Puerto Rico
Housing Authority, 195 F.2d 289 (1st Cir. 1952); and United
States v. Ryan, 213 F, Supp. 763 (D. Colo. 1963)) was a
challenge on the basis of lack of just compensation sustained,
and only in the first (and arguably the third) cited case was
this issue even given serious consideration.



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          Court of Claims. "'S'ee Regional Rail Rergahni'zation Ac't Cases,
          Nos,- 74-165, 74-1667 74-167, 74-168 .(U.S. Sup. Ct. Dec.-16,_
          1974) ; JUnitd' Stat'es v. Cau'sby, 328 :U.S. 256 (1946) ;'.Yearsley
          v. W.A'A.Ross Construction Co,     309 U.S. 18 (1940).    If the
          court concludes that there is        a    'taking"   it       will grant re-
          covery of damages;   if   it.concludes that there is               no taking
          there will be no redovery.      In       either case the Act will stand.

               While the point loses some of its importance in view of
          the above, and although the law in this area is far from
          clear, we are of the'opinion that there is-no "taking" because
          the action of the Congress in this case is a valid exercise
          of the commerce clause power (similar to the State's exercise
          of the police power) and is for the general public, good and
          not in furtherance .of some governmental enterprise.        Regulation
          in this area, even when it results in the destruction of
          private economic value, does not give rise to a "taking"
          in the Fifth Amendment sense. See MugTler v. Kans'as, 123
          U.S. 623 (1887), upholding a state prohibition of the manu-
          facture and sale of intoxicating beverages.        See also National
          Board of YMCA v.  United  States,  395  U.S.  85  (19-9  ; Goldblatt
          v. Town of Hempstead,  369  U.S.  590  (1962);   United' States v.
          Central Eureka Mining Co.   357  U.S.  155  (1958);  United  States
          v. Caltex, 344 U.S. 49 (1952) 5/ For an example of the ex-
           tremes to which the Government can go without violating the.
           strictures of the just ccmpensation clause see Calero'-Toledo
          v. Pearson Yacht Leasing Co., 94 S. Ct. 2080 (1974), where
           the Court upheld the forfeiture of a yacht in accordance
          with a statute providing for such action when the vessel
          was used for unlawful purposes (here the transportation of
           marijuana), even though the owner was neither involved in,
           nor knew of, the illegal activity.

          5/  For a more thorough look at this problem see Michelman,
          Property, Utility, and Fairness: Comments on the Ethical
          Foundations of "Just Compensation" Law, 80 Harv..L. Rev.
          1165 (1967); Sax, Takings and the Police Power, 74 Yale L.J:
          36 (1.964); both of which, on different grounds, support the
          conclusion we have reached.       (Michelman would find no taking
          because that result  is essentially "fair",      i.e.,   the best
          result  in the circumstances;'Sax     would find   no  taking  because
          the Government is acting   in  its   mediator or   public   interest
          capacity as opposed to its    enterprise capacity.)




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    S"       In sum, i:t       s ou        opinion that the sale       d shipment of
         the sperm whale oil          is    in   violation of the'Endangered Species
         Act of 19 7   3   , and is not covered by any exemption of that'
         Act.



                                                           SAntonin   Scalia
                                                            Assistant Attorney General
                                                            Office of Legal Counsel




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